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                            UNITED STATES DISTRICT COURT
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                           EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA ,
12                                              NO. Cr. S-09-125 FCD
                  Plaintiff,
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          v.                                    MEMORANDUM AND ORDER
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     SARTAJ CHAHAL, et al.,
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                  Defendants.
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          On February 3, 2010, plaintiff the United States of America
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     (the “government”) filed a motion to quash a subpoena served on
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     United States Immigration and Customs Enforcement (“ICE”) Special
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     Agent Edwin Gould (“Gould”) by defendant Sartaj Chahal
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     (“defendant”).1      Fed. R. Crim. P. 17(c)(2) (permitting the court
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     upon a “motion made promptly” to “quash or modify [a] subpoena if
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     compliance would be reasonable or oppressive”).            The subpoena
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     directs Gould to appear and testify at the hearing on defendant’s
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     motion to dismiss the indictment, set for February 8, 2010, and
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               Because oral argument will not be of material
     assistance, the court orders this matter submitted on the briefs.
28   E.D. Cal. L.R. 230(g).

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 1   orders Gould to produce at the hearing “any and all documents and
 2   records related to Sartaj Chahal.”          (Ex. A to Gov’t MTQ.)     The
 3   court has reviewed the government’s motion and supporting
 4   exhibits thereto, and HEREBY summarily GRANTS the government’s
 5   motion.
 6        The subpoena is procedurally invalid as it does not comply
 7   with the express requirements of Rule 17(a) of the Federal Rules
 8   of Criminal Procedure.        Specifically, Rule 17(a) requires that
 9   the “clerk” of the court “issue a blank subpoena–signed and
10   sealed–to the party requesting it,” who must then “fill in the
11   blanks before the subpoena is served.”          The Rule is clear that
12   the content of the subpoena must include “the seal of the court.”
13   Fed. R. Crim. P. 17(a).        Here, defendant’s subpoena does not
14   include the seal of the court, and it was not signed by the Clerk
15   of the Court.2      Because the subpoena does not comply with the
16   strictures of Rule 17, the government’s motion is properly
17   GRANTED solely on this procedural ground.
18        However, the court also notes that the government’s motion
19   is also properly granted on the basis that compliance with the
20   subpoena is “unreasonable.”        Fed. R. Crim. P. 17(c)(2).
21   Defendant’s underlying motion to dismiss the indictment presents,
22   in the first instance, a legal challenge to the indictment.               The
23   motion may well be resolved as matter of law.           Moreover, even if
24   the court must review the grand jury transcript in order to
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               While counsel filled in the relevant information
26   requested by the form, without the seal of the court and the
     Clerk’s signature, the subpoena gives the misleading impression
27   that it was issued by the court, since counsel has provided the
     undersigned’s name on the form as well as the court’s deputy
28   clerk’s name.

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 1   resolve the motion, presently there is no evidentiary hearing
 2   set.   The matter is set on February 8 for oral argument on
 3   defendant’s motion.     Therefore, compliance with any subpoena to
 4   appear for Monday’s hearing or to produce documents is
 5   unreasonable since such testimony and production of documents is
 6   unnecessary to the hearing.
 7          Accordingly, for all of these reasons, the government’s
 8   motion to quash the subpoena issued to Gould is GRANTED.           Gould
 9   is not obligated to appear or produce documents at the hearing
10   set for February 8.
11          IT IS SO ORDERED.
12          DATED: February 4, 2010
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                                        FRANK C. DAMRELL, JR.
15                                      UNITED STATES DISTRICT JUDGE
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